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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
LORI SUBER,
Plaintiff, CASE NO.:
_VS_

NISSAN MOTOR ACCEPTANCE
CORPORATION,

Defendant.

/
COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiff, LORI SUBER, by and through the undersigned counsel, and
sues Defendant, NISSAN MOTOR ACCEPTANCE CORPORATION, and in support thereof
respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et
seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et Seq.
(“FCCPA”).

INTRODUCTION

1. The TCPA Was enacted to prevent companies like Defendant from invading
Arnerican citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,
L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization, they Wake us up in the morning; they interrupt our dinner at night; they

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force the sick and elderly out of bed; they hound us until We want to rip the telephone out of the
Wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone
subscribers another option: telling the auto-dialers to simply stop calling.” Osorio v. State Farm
chk, F.S.B., 746 F.3d1242, 1256 (11th Cir. 2014).

4. According to the Federal Communications Commission (FCC), “UnWanted calls
and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robocalls. The FCC received more than 215,000
TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers
Against Unwanled Robocalls, Texts to Wz'reless Phones, Federal Communications Commission,
(May 27, 2015), http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-

333676A1.pdf.

JURISDICTION AND VENUE

5. This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, Which provides that the district courts
shall have original jurisdiction of all civil actions arising under the Constitution, laWs, or treaties
of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See
Ml`ms v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11"‘ Cir. 2014)

 

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8. The alleged violations described herein occurred in Hillsborough County, Florida.

Accordingly, venue is appropriate With this Court under 28 U.S.C. §1391(b)(2) as it is the

judicial district in Which a substantial part of the events or omissions giving rise to this action

occurred.

FACTUAL ALLEGATIONS

9. Plaintiff is a natural person, and citizen of the State of Florida, residing in
Hillsborough County, Florida

10. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

11. Plaintiff is an “alleged debtor.”

12. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

13. Defendant is a corporation Which Was formed in Tennessee With its principal
place of business located at One Nissan Way, ASC, Franklin, Tennessee 37067 and Which
conducts business in the State of Florida through its registered agent, Corporation Services
Company located at 1201 Hays Street, Tallahassee, Florida 32301.

14. The debt that is the subject matter of this Complaint is a “consumer debt” as
defined by Florida Statute §559.55(6).

15. Defendant is a “creditor” as defined in Florida Statute §559.55(5)

16. Defendant called Plaintiff on PlaintifP s cellular telephone approximately one
hundred (100) times in an attempt to collect an alleged debt.

17. Defendant attempted to collect an alleged debt from Plaintiff by this campaign of

telephone calls.

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18. Upon information and belief, some or all of the calls the Defendant made to
Plaintiff s cellular telephone number Were made using an “automatic telephone dialing system”
which has the capacity to store or produce telephone numbers to be called, using a random or
sequential number generator (including but not limited to a predictive dialer) or an artificial or
prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(l) (hereinafter
“auto-dialer calls”).

19. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (813) ***-2831, and was the called party and recipient of Defendant’s calls.

20. Defendant placed an exorbitant number of automated calls to PlaintifF s cellular
telephone (813) **-2831 in an attempt to collect on an alleged car loan.

21. Upon receipt of the calls from Defendant, Plaintiff’s called ID identified the calls
were being initiated from, but not limited to, the following telephone number: (800) 777-6116.

22. On several occasions over the last four (4) years Plaintiff instructed Defendant’s
agent(s) to stop calling her cellular telephone

23. In or about December 2017, Plaintiff answered a call from Defendant to her
aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of
Defendant and informed the agent/representative that she cannot afford to make the payment
until she gets approved for disability. Plaintiff also explained to agent/representative that the
calls were harassing and demanded a cessation of all calls.

24. Each subsequent call Defendant made to PlaintifF s aforementioned cellular

telephone number Was knowing and Willful and done so without the “express consent” of

Plaintiff.

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25. In or about March 2018, Plaintiff answered another call to her aforementioned
cellular telephone number. Plaintiff spoke to an agent/representative of Defendant and explained
that the payment would be made soon, and demanded that the harassing telephone calls to her
cellular telephone cease.

26. Despite clearly and unequivocally revoking any consent Defendant may have
believe they had to call Plaintiff on her cellular telephone, Defendant continued to place
automated calls to Plaintiff.

27. Plaintiff`s numerous conversations with Defendant’s agents/representatives over
the telephone wherein she demanded a cessation of calls were in vain as Defendant continued to
bombard her with automated calls unabated.

28. Defendant intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day, on back to back days, with such frequency as can be
reasonably expected to harass.

29. Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to individuals just as they did to Plaintiff’ s cellular telephone in

this case.

30. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice just as they did to Plaintiff’ s cellular telephone in this case, with
no way for the consumer, Plaintiff, or Defendant, to remove the number.

31. Defendant’s corporate policy is structured so as to continue to call individuals like
Plaintiff; despite these individuals explaining to Defendant they wish for the calls to stop.

32. Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this Complaint.

 

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33. Defendant has numerous complaints across the country against them asserting that
their automatic telephone dialing system continues to call despite requested to stop.

34. Defendant has had numerous complaints from consumers across the country
against them asking to not be called; however, Defendant continues to call the consumers

35. Defendant’s corporate policy provided no means for Plaintiff to have her number
removed from Defendant’s call list.

36. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

37. Not a single call placed by Defendant to Plaintiff was placed for “emergency
purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

38. Defendant willfully and knowingly violated the TCPA with respect to Plaintiff.

39. From each and every call placed Without consent by Defendant to Plaintiff’ s
cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon her
right of seclusion.

40. From each and every call without express consent placed by Defendant to
Plaintiff`s cellular telephone, Plaintiff suffered the injury of occupation of her cellular telephone
line and cellular telephone by unwelcome calls, making the telephone unavailable for legitimate
callers or outgoing calls while the telephone was ringing from Defendant’s calls.

41. From each and every call placed without express consent by Defendant to
Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of her time.
For calls she answered, the time she spent on the call was unnecessary as she repeatedly asked
for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the

telephone and deal with missed call notifications and call logs that reflected the unwanted calls.

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This also impaired the usefulness of these features of Plaintiff s cellular telephone, which are
designed to inform the user of important missed communications

42. Each and every call placed Without express consent by Defendant to Plaintiff s
cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls
that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for
unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed ca11
notifications and ca11 logs that reflected the unwanted calls This also impaired the usefulness of
these features of Plaintiff s cellular telephone, which are designed to inform the user of
important missed communications

43. Each and every call placed without express consent by Defendant to Plaintiff s
cellular telephone resulted in the injury of unnecessary expenditure of Plaintiff’s cellular
telephone’s battery power.

44. Each and every call placed without express consent by Defendant to Plaintiff s
cellular telephone where a voice message was left which occupied space in Plaintiff s telephone
or network.

45. Each and every ca11 placed without express consent by Defendant to Plaintiff’s
cellular telephone resulted in the injury of a trespass to Plaintiff’ s chattel, namely her cellular
telephone and her cellular telephone services

46. As a result of the calls described above, Plaintiff suffered an invasion of privacy.
Plaintiff was also affect in a personal and individualized way by stress and anxiety.

M
(Violation of the TCPA)

47. Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty six

(46) as if fully set forth herein.

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48. Defendant willfully violated the TCPA with respect to Plaintiff, especially for
each of the auto-dialer calls made to Plaintiffs cellular telephone after Plaintiff notified
Defendant that she wished for the calls to stop.

49. Defendant repeatedly placed non-emergency telephone calls to Plaintiff s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against NISSAN l\/IOTOR ACCEPTANCE CORPORATION for statutory damages,
punitive damages, actual damages, treble damages, enjoinder from further violations of these
parts and any other such relief the court may deem just and proper.

COUNT II
(Violation of the FCCPA)

50. Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty six
(46) as if fully set forth herein

51. At all times relevant to this action Defendant is subject to and must abide by the
laws of the State of Florida, including Florida Statute § 559.72.

52. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of his or her family With such frequency as can reasonably be

expected to harass the debtor or his or her family.

53. Defendant has violated Florida Statute § 559.72(7) by Willfiilly engaging in other

conduct Which can reasonably be expected to abuse or harass the debtor or any member of his or

her family.

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54. Defendant’s actions have directly and proximately resulted in Plaintiffs prior and
continuous sustaining of damages as described by Florida Statute § 5 59.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against NISSAN MOTOR ACCEPTANCE CORPORATION for statutory damages,

punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further violations

of these parts and any other such relief the court may deem just and proper.
Respectfully submitted,

/s/ Jason R. Derry

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